Case 1:21-cv-02131-CJN-MAU Document 82-11 Filed 03/22/24 Page 1 of 2




         Exhibit 32
Case 1:21-cv-02131-CJN-MAU Document 82-11 Filed 03/22/24 Page 2 of 2




             - Pat ick Byrne O
               @PatrickByrne

         A •omey Ste Lambe       had a 1:30 PM heari ng today in DC and was
         released.

         The warrant was on a mi sd,emeanor (one she'll clean up in her nex
         appea rance in ichigan). Under Ml aw there not no arr,est varrants on
         misdemea nors. Illegal.

         Soros   I AG + Dominion cooked up

         3:46 PM• Ma 19, 2024 • 3,44-4 Views
